           Case 18-32106 Document 199 Filed in TXSB on 06/15/18 Page 1 of 5



                                    WITNESS AND EXHIBIT LIST

                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    Case No: 18-32106                                  Name of Debtors: Erin Energy Corporation,
    (Jointly Administered)                             et al.,1
    Witnesses:                                         Judge: Marvin Isgur
         1. Sakiru Adefemi (Femi) Ayoade
         2. Dippo Bello
         3. Loretta Cross
         4. Any witness listed by other parties
                                                       Hearing Date: June19, 2018
                                                       Hearing Time: 9:00 a.m.
                                                       Party Names: Erin Energy Corporation, et al.
                                                       Attorney’s Name: Matthew S. Okin
                                                       Attorney’s Phone: (713) 228-4100


Nature of Proceedings:

          1. Emergency Motion of Armada Oyo Limited and Bumi Armada (Singapore), Pte., Ltd.
             and for an Order Pursuant to Sections 105(a), 362(d)(1) and 363(e) of the Bankruptcy
             Code Modifying the Automatic Stay and Granting Related Relief [Doc. #69]

          2. Emergency Motion of Armda Oyo Limited and Bumi Armada (Singapore) Pte., Ltd.
             to Compel Assumption or Rejection of Executory Contracts Pursuant to Sections
             105(a) and 365(d)(2) of the Bankruptcy Code [Doc. #71]

          3. Debtors’ Application for an Order Pursuant to Sections 327(a) and 328(a) of the
             Bankruptcy Code Authorizing the Employment and Retention of Okin Adams LLP as
             Counsel for the Debtors [Doc. No. 91]

          4. Debtors’ Application for an Order Pursuant to Section 327(a) of the Bankruptcy Code
             Authorizing the Employment and Retention of Stout Risius Ross, LLC as Financial
             Advisor to the Debtors [Doc. No. 93]

          5. Debtors’ Emergency Motion for the Entry of an Order Pursuant to Sections 105(a)
             and 362 of the Bankruptcy Code Holding Zenith Bank PLC in Contempt for
             Violating the Automatic Stay [Doc. No. 178]



1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
        Case 18-32106 Document 199 Filed in TXSB on 06/15/18 Page 2 of 5



        6. Debtors’ Expedited Motion for Entry of an Order Authorizing the Debtors to Retain
           and Compensate Professionals Utilized in the Ordinary Course of Business [Doc. No.
           196].

                                     DEBTOR’S EXHIBITS

Ex.#                Description                Offered   Objection    Admitted/    Disposition
                                                                        Not
                                                                      Admitted
 1.    Map of Debtors’ Oil and Gas
       Operations in Africa

 2.    Diagram of Debtors’ Corporate
       Structure

 3.    Declaration of Matthew S. Okin in
       Support of the Debtors’ Application
       for Order Pursuant to Sections 327(a)
       and 328(a) of the Bankruptcy Code
       Authorizing Employment and
       Retention of Okin Adams LLP as
       Counsel for the Debtors and Statement
       Pursuant to Bankruptcy Rule 2016(b)
       [Doc. #91-1]

 4.    Affidavit of Proposed Financial
       Advisor and Disclosure of
       Compensation [Doc. #93-1]

 5.    Proposed Ordinary Course
       Professional Procedures

 6.    Form of Declaration of
       Disinterestedness for OCPs

 7.    Schedule of Ordinary Course
       Professionals [Doc. #196-2]

 8.    Corporate Guarantee by Camac Energy
       Inc. Made in Favour of Zenith Bank
       PLC dated September 11, 2014 [Doc.
       #178-1]




                                               2
        Case 18-32106 Document 199 Filed in TXSB on 06/15/18 Page 3 of 5



Ex.#                Description                 Offered   Objection   Admitted/   Disposition
                                                                        Not
                                                                      Admitted
 9.    Letter dated February 23, 2017
       regarding the resignation of Mr. Segun
       Omidele from the Erin Board of
       Directors [Doc. #178-2]

10.    Wire transfer notification dated
       January 9, 2013 in the amount of
       $3,200,000 [Doc. #178-3]

11.    Bank of America Account Statement
       showing January 3, 2018 deposits
       [Doc. #178-4]

12.    May 22, 2018 Letter from J.K. Randle
       to Erin Petroleum regarding Notice of
       Appointment of Receiver [Doc. #178-
       5]

13.    May 31, 2018 Letter from Terra
       Marine Attorneys to J.K. Randle
       regarding Notice of Appointment of
       Receiver [Doc. #178-6]

14.    Zenith Bank List of Correspondent
       Banks and International Banking
       Partners [Doc. #178-7]

15.    Corporate Guarantee by Erin Energy
       Corporation Made in Favour of Zenith
       Bank PLC dated August 3, 2016 [Doc.
       #178-8]

16.    Letter to United States Bankruptcy
       Court from Charles Nwabulu of Kenna
       Partners dated June 7, 2018 [Doc.
       #187]

17.    Receivership papers from Zenith Bank
       [Doc. #187-1]

18.    Zenith Bank PLC Motion to Set Aside
       Order entered on May 25, 2018 [Doc.
       #187-2]




                                                3
         Case 18-32106 Document 199 Filed in TXSB on 06/15/18 Page 4 of 5



Ex.#                Description                      Offered   Objection   Admitted/   Disposition
                                                                             Not
                                                                           Admitted
19.    Sworn Affidavit of Facts of Mr. Bosah
       Okonyia [Doc. #187-3]

20.    Any Exhibit Designated by Any Other
       Party

21.    Rebuttal Exhibits



 Respectfully submitted this 15th day of June, 2018.

                                               Respectfully submitted,

                                               OKIN ADAMS LLP

                                               By:         /s/ Matthew S. Okin
                                                      Matthew S. Okin
                                                      Texas Bar No. 00784695
                                                      David L. Curry, Jr.
                                                      Texas Bar No. 24065107
                                                      dcurry@okinadams.com
                                                      John Thomas Oldham
                                                      Texas Bar No. 24075429
                                                      joldham@okinadams.com
                                                      Ryan A. O’Connor
                                                      Texas Bar No. 24098190
                                                      roconnor@okinadams.com
                                                      1113 Vine St., Suite 201
                                                      Houston, Texas 77002
                                                      Tel: 713.228.4100
                                                      Fax: 888.865.2118

                                               PROPOSED ATTORNEYS FOR THE
                                               DEBTORS




                                                  4
       Case 18-32106 Document 199 Filed in TXSB on 06/15/18 Page 5 of 5



                               CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2018, I filed the foregoing pleading electronically,
causing a true and correct copy of the foregoing to be served via the Court’s EM/ECF electronic
system to all parties consenting to service through same.

                                                   /s/ Matthew S. Okin          _______
                                                   Matthew S. Okin




                                              5
